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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   UNITED STATES OF AMERICA                :      CRIM. NO, 12-131(SRC)

                  v.

  MICHELLE MASSARO
                                                                   ORDER


          This matter having been opened to the Court upon
                                                                 application of Richard J.
  Verde, attorney for Defendant, Michelle Massaro.
                                                          and Paul J. Fishman, United States
  Attorney for the District of New Jersey (Randall Coo
                                                       k.     Assistant U.S. Attorney
  appearing) for an Order to allow Michelle Massaro
                                                    to have       a copy of her United States
  Passport that is presently in possession of Pre-Trial
                                                          Services and with the consent of
 Randall Cook, Assistant U.S. Attorney that Michelle
                                                            Massaro shall be allowed to have a
 copy of her United States Pa,port and for good caus
                                                           e shown;
         It is onthis
                                                                      ,2012
         ORDERED that Pre-Trial Services shall prov
                                                    ide a        copy of the United States
 Passport of Michelle Massaro to Michelle Massaro
                                                  through her Attorney Richard J.
 Verde as soon as conveniently possible:

        ORDERED that all other conditions of bail shall
                                                        be        maintained.



                                               HbRABLE STANLEY R. CI-IESLER
                                               UNITED STATES DISTRICT JUDGE
